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                   Exhibit 38
                              Part 1
           Case 1:22-cv-00384-JSR Document 72-47 Filed 10/07/22 Page 2 of 11




Export E-22425
Matter/Claim Number: 096801.000091
URL: https://twitter.com/MetaBirkins
Capture Start: 2022-01-19 19:23:59 (UTC)
Operating System: Windows 10 64-bit
Browser Engine: Chrome 97.0.4692.71




                                                                               HERMES_0009089
                 Case 1:22-cv-00384-JSR Document 72-47 Filed 10/07/22 Page 3 of 11

          MetaBirkins
          91 Tweets
                                                                                                               Media         Likes   9




    ~
MetaBirkins
@MetaBirkins
A digital art project by @masonrothschild
                                   living on the Ethereum blockchain. Feat.
@voguebusiness @Forbes, @BoF, @ELLEmagazine, @HYPEBEAST, @highsnobiety.
     rarible.com/metabirkinsnft                                   Joined November 2021

2   Following      6,944 Followers
Not followed    by anyone you’re following


      Tweets                               Tweets & replies                                               Media                          Likes


          6Pinned Tweet
          MetaBirkins @MetaBirkins    Nov 29, 2021                 -




          Three days from mint and we need to give away the last dozen whitelist
          spots!
              Follow @MetaBirkins and @MasonRothschild
          -   Like and Retweet this post
          -
              Tag three friends who have diamonds hands to hold #MetaBirkins
          #NotYourMothersBirkin #MintAMetaBirkinHoldAMetaBirkin




                  974                     Tl       1K                   ©          1.3K                 ar              IMGD



          MetaBirkins @MetaBirkins                                 -
                                                                       Jan 17

=



                       LA SE ALLL
                  te    ok   oe      ok           ook   CAMDEN     1, NEW JERSEY               %         ck        ke   ot




                                                                             May 19,         1964


                         Mr.    A.     Warhol
                         1342 Lexington            Avenue
                         New   York,       New   York

                         Dear     Kr.     Warhol:

                                I have followed your career for some time. Your work
                         has   evoked a great deal of interest here at Campbell Soup
                         Company   for obvious reasons.

                                  At    one    tiee     I   had hoped to be        able      to acquire one of
                         your Campbell Soup label                 paintings        -
                                                                                       but    i's afraid you
                         have     gotten      such      too   expensive for        ae.


                              I did want to tell you, however, that we adsired your
                         work and I have since learned that you like Tomato Soup.
                         I am taking the liborty of having a couple of cases of our
                         Tomato Soup delivered to you at this address.

                                  We    wiah     vou    continued      mueccenan   and    esod      fortune.




                                                                                                                                                 HERMES_0009416
            Case 1:22-cv-00384-JSR Document 72-47 Filed 10/07/22 Page 4 of 11
                       Ter                                en
                                                               ott   ott




                                                          cordially,
                                                          Willen ?.Iree Suto
                                                          Willies P. MacFarland
                                                          Product Marketing Manager




        O   8                    23                ©    140                it                IMGa




a
        MetaBirkins @MetaBirkins    Jan 17     -                                                           eee




        A statement in response to: Hermés International, et al. v. Mason
        Rothschild.




             Dear Community,
            So, Hermesfiled a trademarklawsuit againstme| on Friday—although theydidn't
            sendmeor mylawyers      acopy, Mylawyers and havereviewedHermes’
             complaint. Hermes’ claimsaregroundless andwe lookforward to defeating
            thoseclaims in courtandhelpingto set a precedent.
             | am notcreatingorsellingfakeBirkin bags. I've madeart works that depict
            imaginary,fur-coveredBirkinbags.
            My   lawyersat LexLumina PLLCput it well when theysaidthat theFirst
            Amendmentgivesmetherightto make and sellart thatdepictsBirkinbags, just
            as it gave Andy Warholtheright tomakeand sellart depictingCampbell’ssoup
             cans.

             I have therightalsotousetheterm “MetaBirkins” to describetruthfullywhat
            that art depicts,and to commentartistically onthose bags andonthe Birkin
             brand.

             The fact that | selltheart using NFTsdoesn't changethefact thatit's art. It's
             quiteclear from readingHermes’ complaintthat they don't understandwhat an
            NET is, or whatNFTs do.
            Wehave triedto bereasonable. Hermesfirst sent me a letter threatening a
            lawsuitif | didn't knuckle underandstop doing MetaBirkinsaltogether.Wewrote
            to themand explained that wewere doingnothing wedidn't have a right to do.
            We toldthem thatwebelieved thatthe dispute couldberesolvedthroughan
            informal conversation   betweenmeand anHermes representative.     Hermes
            choseinstead to breakoffnegotiations and sue me.
             | hope Hermesunderstandsthat | won't be intimidated.




            15                    55               ©     187                                 IMGE



Who to follow

        Paracelsus
        @ParacelsusNFT
        Welcome to Pangea! A #PlayToEarn world strewn apart by four warring
        factions of elementals.         EA
                                   MINTING MARCH     #ForPangea Geb                                  A
        Join discord.gg/Paracelsus




= @gm_onchain
        gm onchain

        gm SOLD OUT L. http:// gm.graphics zora.co/collections/Ox...
                                                                                                    —



        opensea.io/collection/gm-...

        arXiv.org
atXiv   @arxiv
                                                                                                    mein
   _




        News from arXiv.org, a free distribution service and an open archive for
        scholarly articles. For help with arXiv, see arxiv.org/help

Show more



        MetaBirkins @MetaBirkins      Jan 16   -                                                           see




        MetaBirkins O just sold for 3 Ether (=$10,500.00) on @rarible!




                                                                                                                 HERMES_0009417
              Case 1:22-cv-00384-JSR Document 72-47 Filed 10/07/22 Page 5 of 11

         OR:                   24                  O   13                  it,            IMGa


    tl   MetaBirkins Retweeted
         MasonRothschild.eth @MasonRothschild         Jan 14           -                                eee




         MetaBirkins are the key to unlocking all my future projects. Guaranteed
         whitelists, guaranteed airdrops. Endless value for the people who believe in
         me and my work. It’s all about the journey and I’m just getting started.


         On                         Tl    24                      QO            91             it;

Topics    to follow
Tweets about the  Topics you follow show up in your Home timeline

 ViralTweets                             Euphoria             + |           X         Barstool Sports   +

 Funny Tweets                            Sports               +            xX         Gaming            +

 NFL                +                    NFLplayers           +                       Basketball        +

 Rap                +                    NBA                  +                       Video games       +

 Football           +                    Actors               +            xX         NBA players       +


More Topics


         MetaBirkins @MetaBirkins      Jan 14  -

                                                                                                        one
         MetaBirkins 35 just sold for 4 Ether (=$13,500.00) on @rarible!




              6                101                 ©    319                     it,       IMGa




a
         MetaBirkins @MetaBirkins              -
                                                   Jan 14
         MetaBirkins67      just sold for 3.8 Ether (=$13,000.00) on @rarible!




         O                tl   11                      24                                 IMGO




                                                                                                              HERMES_0009418
          Case 1:22-cv-00384-JSR Document 72-47 Filed 10/07/22 Page 6 of 11

     MetaBirkins @MetaBirkins    -
                                   Jan 14                                    oe




     MetaBirkins 15 just sold for 3 Ether (=$10,000.00) on @rarible!




     QO   4             12           O   57      it,          IMGo


tl   MetaBirkins Retweeted

     Metaplug @metaplug Jan 13
                             -




        Copped a @MetaBirkins
        Loved by celebrities and cease & desist-ed by Hermes, it's both a visual
     and performance art piece
        The founder @MasonRothschild has a proven track record in the fashion
     space and a strong network

     Apparently this one is @takashipom inspired!




     QO                10            O   a                    IMGD


     MetaBirkins @MetaBirkins    -
                                   Jan 11                                    see




     MetaBirkins 83 just sold for 3.8 Ether (=$13,000.00) on @rarible!




                                                                                   HERMES_0009419
            Case 1:22-cv-00384-JSR Document 72-47 Filed 10/07/22 Page 7 of 11




            5              16                  OQ       73           it;       IMGa


     MetaBirkins @MetaBirkins      Jan 10  -                                            ene




     MetaBirkins is LIVE on @LooksRareNFT, the community-first marketplace
     that actively rewards traders, collectors and creators. Buy and sell your
     MetaBirkin today or HODL for your free @ILYYWNFT mint!




          looksrare.org
          LooksRare
          LooksRare is a next generation NFT market. Buy NFTs, sell NFTs... or
          just HODL: Collectors, traders, and creators alike earn passive incom...

     QO                    tT    8s                             QO 23

@    MetaBirkins @MetaBirkins                  Jan 8
                                           -                                            eee




     | Like You. You’re Weird




     | Like You, You’re Weird


     OY     9              41                  ©        187                    IMGa




@    MetaBirkins @MetaBirkins                  Jan 4
                                           -




     Thank you for telling this story @HYPEBEAST




                                                                          fi
                       @ @HYPEBEAST- Jan 3
                HYPEBEAST
          Hermés Allegedly Sends Cease and Desist to MetaBirkins NFT Creator
          hypebeast.com/2022/1/mason-r...

     OD     3               tT        12
                                                                QO   36


     MetaBirkins @MetaBirkins              -
                                               Jan 1                                    eee




                Damngraham.eth @damngrahamm- Jan 1
          | collected one fashion NFT that changed my entire year financially.
          Whether it's music, fashion, photography, etc, ur NFT project could
          positively impact someones life if you just create it. Ty
          @MasonRothschild @MetaBirkins gy

     OD                     tT   6                              O    14           it;
tl   MetaBirkins Retweeted

     Zolzaya @Zolzayai997      Jan 1
                                 -                                                      ene




     One of the best NFTs out there. The discord community is one of the best
     out there. Lot's of freedom, pictionary, art, music, food, and friends to
     make along the way!


          © MetaBirkins @MetaBirkins                -
                                                        Jan 1
          MetaBirkins: Collection One

          Now available on @rarible




                                                                                              HERMES_0009420
       Case 1:22-cv-00384-JSR Document 72-47 Filed 10/07/22 Page 8 of 11
     rarible.com/metabirkinsnft




QO     2              Tl   2                    12


MetaBirkins @MetaBirkins    Jan 1
                               -                                  eee




MetaBirkins: Collection One

Now available on @rarible      #
rarible.com/metabirkinsnft




QO     20             33            ©      93   it,   IMG


MetaBirkins @MetaBirkins       -
                                   Jan 1                          eee




Ice Age.




                                                                           HERMES_0009421
              Case 1:22-cv-00384-JSR Document 72-47 Filed 10/07/22 Page 9 of 11


       QO      8                               23                                  95              it                            IMGo


       MeltaBirkins @MelaBirkins                                   -
                                                                       Dec 31, 2021                                                                                   eee




       c/o Sage Willows




       QO      5                                13                      QO         7               it                            IMGo



       MetaBirkins @MetaBirkins                                    -
                                                                       Dec 29, 2021                                                                                   eee




       Slatt




               10                               39                      ©          222                                           IMGa


       MetaBirkins @MetaBirkins                                    -
                                                                       Dec 22, 2021                                                                                   one




       An open letter to Hermés, OpenSea and Community.
                                                                                          I'mGaappointed to nesthor!Metallirtdentorebeenremovedfrom yourpivformn
                                                                                          beforeary legalactionwomtaken,andwithoutdue proces. Tp hervesemowed
                                                                                               welfowarning oF             is              to say Lhe tent.
                                                                                                              Cortsicieration disheartening,
                                                                                          ‘Youwereformed asaninnovarivehubtorartiensand cofectorsalte.The
                                                                                          GFOWRof your DUsiNESsrolesOFTeGUBpOT OfTeatCommentty,Yow howd
                                                                                           ISnettooistetosteerimthe right Girection.
        So, | gotyour coase    desistletter.While | amsorry It youwereinsulted by my
            88anartist, | wil not apctogizefor creating
       Now,as you are aware,theFiest Amendmentgivesmeeveryrigh to createart
       based on myinterprotations of thework aroundme.Therearecourtioss
        xampios ofartiststhat
        ertactsin &
                            whoreferencetheworldandtheproducts
                               usderstancing, Motaliiriinsic apinytuland cuturat
                                                                      abstraction of an
        odsting feshion-cultrelandewrk. | re-interprotedtheform,materiality andname
        of a knowncultural touchpoltt,MetaBirkins arealso acommentary onfasbios’s
         storyof animal crueity.and currentembraceof turtreeimtiativesand
        aiermativetexties.My aim isalwaysto createadditiveartprojectsthat                 ‘Vo saythet RaveBeenOverwhelmed by yoursupport
                                                                                                      |
                                                                                                                                         Yomday onewould Bean
        Contributepostavely tothecuture:                                                  understeer. Thankyou for Defiewingin    workandfor choosing tobe      a

                                                                                          Dar of Tis journey.
        ‘When it comes toart,sellingmy Metndirkins as NFTsisakintosalting themac
        pinysical art prints.It shouldnetbemy jobto eduoateyouonadvancementsin            ‘We'vequicidy reached3pivetalmomark of Transmen mee           luau
       thewordandthecultureof art. Artisart                                               1eFR,Thereesbropossiblechratone here,
                                                                                              ground. an ord. Tre eocana euch fslacinedtotno, batting
                                                                                          ‘Thefret ipthat backdownin thetaceofHermie’ threats, ans
                  moving tide                                    yourrole                 Aacaeions
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        Thereispowerhouse
       fashion               ofanplity
                            to  lenovationandevolstion,and  it iseather
                                      young Creatives andstints           asstomp
                                                                       then
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                                                                                          fy
        them out. Youractionscan help determinethetutureofartintheMetaverse.
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       Youcasbe a partof anieceeciblemovement,                                             bealowed to abuse Thercower.
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                                                                                                      OfNFTcrechors andpanons.ITs forthe plutionnsanacorpomnens
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                                                                                                  community bulls   opsionswithHermes,
                                                                                                                afl andfosters
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                                                                                                                                                         gach  when
       Hermés and OpenSea

       ©       20                     tl         63                       QO       198                                           IMG




a
       MetaBirkins @MetaBirkins   Dec 15, 2021                     -




       The #MetaBirkins Discord Server is now open to new members                                                                             —


                                                                                                                                                      pausing
       registration at 24,000 members.
       discord.gg/metabirkins




       QO      2                               19                                  7                                             IMGo


  tl   MetaBirkins Retweeted

B OF
       The Business of Fashion     @BoF Dec 15, 2021           @                     -                                                                                oe




       Neither by Hermés nor rea! handbags. the luxury NFTs highlight both profit-




                                                                                                                                                                            HERMES_0009422
          Case 1:22-cv-00384-JSR Document 72-47 Filed 10/07/22 Page 10 of 11
    making potential and intellectual-property issues as money pours into the
    fast-growing virtual fashion market.




         businessoffashion.com
         What ‘MetaBirkins’ Say About Virtual Fashion
         Neither by Hermés nor real handbags, the luxury NFTs highlight both
         profit-making potential and intellectual-property issues as money pou...

    QO     1                tl    56                  ©    100




@   MetaBirkins @MetaBirkins
    gm
    QO     5
                 @RonnieFieg
                            tT 5
                                        -
                                            Dec 14, 2021


                                                      © 29

    MetaBirkins @MetaBirkins          Dec 11, 2021
                                        -




    A gift for all first collection holders. Airdropping         soon.   Thank you for
    everything. #MetaBirkins




    QO     15          tl   27              Q   179                      IMGD




@   MetaBirkins @MetaBirkins
    gm # @RTFKTstudios
    OQ     «61              tT.   197
                                        -
                                            Dec 11, 2021


                                                      ©    160




@   MetaBirkins @MetaBirkins    Dec 9, 2021
                                        -




    Another day, another milestone. Thank you everyone. #MetaBirkins




                                                                                         HERMES_0009423
                 Case 1:22-cv-00384-JSR Document 72-47 Filed 10/07/22 Page 11 of 11



           O      15           Tl   22                     126           iT,          IMGD



      tl   MetaBirkins Retweeted

           tardy           @earth_dave        Dec 8, 2021

6
                                         -




           meta birkins the best NFT out it's not                up for debate
           O      7                 tl       21                          91              it,

           MetaBirkins        @MetaBirkins        -
                                                      Dec 7, 2021
tas        MetaBirkins going to Pluto!


                                    @ @ifuture
                      FUTURE/FREEBANDZ                              -
                                                                        Dec 7, 2021
               GM WORLD




           OD     68                tT       18                          244


           MetaBirkins        @MetaBirkins        -
                                                      Dec 6, 2021
es”        Spicy J

                      splashy.eth @LordxSplashy Dec 6, 2021
                                                          -




               Someone's     building a spicy collection @MetaBirkins 4 in the last 2
               hours.




                                                                   Unnamed




                                                                   httpsmadz




                                             5                     Q     47              a

           MetaBirkins      @MetaBirkins          -
                                                      Dec 6, 2021
ths        Do as       @LanaRhoades does:

           «
               Change your Profile Photo to your favorite #MetaBirkin
               Follow @metabirkins and @masonrothschild
           -   Like and Share this post
           -
               Tag three friends who have diamonds hands to hold #MetaBirkins
           #NotYourMothersBirkin #MintAMetaBirkinHoldAMetaBirkin




                                                                                               HERMES_0009424
